     Case 4:22-cv-04318 Document 48 Filed on 02/27/23 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


TotalEnergies Gas & Power North
America, Inc., et al.

v.                                               Case Number: 4:22−cv−04318

Federal Energy Regulatory Commission,
et al.




                                  Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Judge Drew B Tipton
LOCATION:
by video
Meeting Link:
https://www.zoomgov.com/j/1610690763?pwd=Y1ZydDU3TWxIUDNla0FrSjVxN1FvUT09
Meeting phone number: Dial by your location +1 669 254 5252 US (San Jose), +1 646
828 7666 US (New York)
Meeting ID: 161 069 0763
Meeting Password: 307095


United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 3/6/2023
TIME: 04:00 PM

TYPE OF PROCEEDING: Motion Hearing
RE: Motion for Preliminary Injunction − #23


Date: February 27, 2023                                      Nathan Ochsner, Clerk
